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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                           CIVIL FILE NO.: 12-CV-03144 (JNE/TNL)
Bonita Brabec,

              Plaintiff,                       NOTICE OF VOLUNTARY DISMISSAL
                                                       WITH PREJUDICE
vs.

The Brachfeld Law Group, P.C., a foreign
professional corporation,

              Defendants.

       Plaintiff, by and through its undersigned counsel hereby dismisses its Complaint

against Defendants with prejudice in the above-captioned case without costs to either

party pursuant to Rule 41(a)(1)(i) of the Federal Rules of Civil Procedure.



                                                 MARSO AND MICHELSON, P.A.


Dated: March 11, 2013                            By: s/Patrick L. Hayes
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